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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS


  In re:
           Roney Louis Harris
                 Debtor                            Case No. 17-31042

  Address        615 White Street
                 Springfield, MA 01108

  Last four digits of Social Security              Chapter 13
   No(s)                 4748




                      AMENDED PRELIMINARY STATEMENT
                          OF RECORDS ON APPEAL


  Identity of appellant/Debtor:

           1. Name of appellant:
                Roney Louis Harris, pro se



  Supplemental Statement of Records on appeal

           1. Transcript of PHH witness Siwatu Wilson - ECF # 205.

           2. Full copy of the Pooling and Servicing Agreement of HSBC - ECF #
              223.

           3. Rescission letters in the County Records in Springfield, Massachusetts
              and in Glastonbury, Connecticut for the subject properties of Debtor -
              ECF # 268.

           4. Decision of Judge Ponsor on Debtor's appeal, dated 9/28/10 - ECF #
              121.

           5. Affidavit (dated 1/29/2014 at ECF #121) and Declaration (ECF #221) of
              HSBC witness Kevin Flannigan.

           6. Judge Carey's decision on Debtor's summary judgment motion in the
              Hampden Superior Court - ECF # 268.
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       7. Closing instructions of closing agent, Attorney DiMaria, for 615 White
          Street, Springfield, MA - ECF # 205.

       8. Copy of the subject Note of PHH that was submitted in the Bankruptcy
          Court by Attorney Rosenman - in Case #08-31056, at ECF #39.

       9. Copy of mortgage from originated by BMC Mortgage Co In MA - ECF #
          192.

        10.Abandonment    of estate by bankruptcy trustee 1/10/2011   - ECF # 121.

       11.Affidavit of Debtor regarding witness at closing for HSBC. (Attached.)

        12. Consent Decrees and Orders against PHH and HSBC - ECF # 205.

        13. Petition to Amend Schedules, filed 7/10/2018,   which eliminated PHH
            and HSBC as creditors - ECF # 197.

        14. Complaint filed by Fremont Home Loans dated 11/19/2007.     No ECF is
            available since the complaint was removed from the docketing record
            of the Superior Court at Hartford, Connecticut. (Attached.)

        15.Assignment of mortgage from MERS, as nominee for Fremont (on
           6/27/2008) to HSBC Bank USA, National Association, As Trustee,
           dated 10/22/2008 - ECF #205.

        16. Response to HSBC's lift-stay request from Judge Melvin Hoffman (on
            6/14/2016), after HSBC reopened Debtor's bankruptcy case to attempt
            to get stay lifted - ECF # 132.

        17. Monthly mortgage statement from PHH, entitled "You monthly
            mortgage statement." - ECF #192.

        18.Affidavit of Walter Vail- ECF #31, Case #11-699 in MA Trial Court
           entered on 6/16/2014.

        19. Notice that Fremont liquidated and closed on July 25, 2008 -- ECF
            #140, with
            https:/Iwww5.fdic.gov/idasp/confirmation_outside.asp?inCert1  =25653.

        20. Judgment of Judge Boroff which rescinded the Lift-Stay Motion of
            HSBC on remand from U.S.District Corut - ECF #112.

        21. Transcript of Judge Boroff at Evidentiary Hearing in Case #08-3022 -
            ECF #47.



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        22. Modification Agreement (attached)


         Transcript is being ordered for testimony of Timothy Howes given at the
 Hampden Superior Court in the consolidated cases of Debtor's claim for
 injunctive relief and PHH's quiet title claim. Mr. Howes testified regarding the
 Commonwealth's Race Theory that effected the assignments of mortgage from
 BMC to Wachovia and from BMC to Cendant. (Testimony referenced in ECF
 #205, p. 5.)

  Respectfully submitted,

  February 11, 2019

                                            Plaintiff/Appellant,



                                       BY:·~lb·~~~~~~                             _
                                            Rone Louis Harris, pro se
                                            615 White Street
                                            Springfield, MA 01108


                                    CERTIFICATION

               This will certify that a copy of the foregoing was mailed, postage
        prepaid, on this date of January 29,2019 to the following:

        Denise Pappalardo (Trustee)                 u.S. Trustee
        P.O. Box 16607                              446 Main Street, 14th Floor
        Worcester, MA 01601                         Worcester, MA 01608

        Marcus Pratt, Esq.                          Stephanie Sprague, Esq.
        Korde & Associates, P.C.                    Locke Lord LLP
        900 Chelmsford Street, Ste. 3102            111 Huntington Avenue
        Lowell, MA 01851                            Boston, MA 02119




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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS



 In re: Roney Harris                            Case No: 17-31042
               Debtor
                                                Chapter 13




                                  Affidavit

      I, Roney Harris, of the Town of Springfield, in the
 County of Hampden and the State of Massachusetts, am over
 the age of 21 and having personal knowledge of the herein
 stated facts, and being competent to witness, depose and
 say:

       That on February 27, 2006, I met with the following
 parties to complete the closing of a mortgage to property
 located at 83 Greentree Drive, Glastonbury, Connecticut
 06033:   Morris Olmer, Esq.; and, Kenneth Lewis, CEO of the
 mortgage brokerage company USA Financial.   Said meeting was
 held at the Ruth's Chris Steak House at 2513 Berlin
 Turnpike, Newington, Connecticut 06111, on or about 6:00
 p.m.

      The above-mentioned parties were the only persons in
 attendance with me at the closing, and there was no
 individual named Carmen Rodriguez in attendance as witness
 at that meeting.


 In Witness hereof, I have hereunto            set my hand and seal
 this 30th Day of April, 2018.

 Signed, Sealed         and Delivered in the presence         of:



 Witness    (Print)                     Witness     (Print)



 Witnessl£~~                            Witness (Signature)
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          Under the penalties of perjury, I declare that I have read the foregoing and that the
 facts stated in it are true.




 State of    mA                                 s.s.
                                                       --------------------

 County of    J{~M..!p~

        On this the   3D   Day of    CGr~                     ,2018, before me,
 J}ub, I~ A- Ii)Vu...-               , personally
                                                appeared   1L (J~      }(r,-rv; J
 Known to me (or satisfactorily proven) to be the person whose n     is subscribed to the
 within instrument and acknowledged that he executed the same for the purposes therein
 contained as his free act and deed.


 In witness wherefore, I hereunto set my hand and official seal.




                                                              ~m~
                                                               ~
                                                                         DEBORAH A. GREEN
                                                               ! .   Notary PLtlic, Common ••••ealth of MassacIJusetts
                                                                          My Commiss:on Expires Sept. 21, 2018
                                                             --~-----------------J




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   RETURN DATE: DECEMBER 11,2007                                              SUPERIOR COURT
                                                                                                        I

   FREMONT INVESTMENT & LOAN
                                                                                                    I
                                                                              JUDICIAl!. DISTRICT OF HARTFORD
                                                                                                    I
   VS:                                                                        AT HARTFORD

   RONEY HARRIS, ET. AL                                                       NOVEMBER 19,2007
                                                                                                    I
                                                                                                    i .
                                                             COMPLAINT                              I                                      .
              1.        The Plaintiff, Fremont Investment          & Loan has an office and place of business with an
   address of 175 N. Riverview            Drive, Anaheim,     CA 92808.                         I
              2.        At all times     complained      of herein,      the Defendant(s),                           Roney     Harris,      owned       real
                                                                                                J
   property situated       in the Town of Glastonbury,         County of Hartford and State of Connecticut                                     known as

   83 Greentree        Drive,    (hereinafter
   attached hereto and made a part hereof.
                                                 the "Property")
                                                                                            I
                                                                      being more darticularlY                          described      in Schedule
                                                                                                                                                    .     A



              3.        On or about       February     27, 2006,      the Oefendant(s),                      Roney         Harris,    executed          and
                                                                                            J
   delivered       to Fremont
   amount of $508,000.00.
                                  Investment
                                                                                            I
                                                 & Loan, a Note (the "Note") for a loan in the original                                        principal



           4.          On said date to secure said Note the oefendart(S),                                   Roney Harris, did execute                   and
   deliver to Mortgage          Electronic    Registration    Systems,        Inc. as Nominee                        for Fremont          Investment      &
   Loan, a Mortgage          on the Property.         Said Mortgage
                                                                 was dat~d February 27, 2006 and recorded
                                                                         I
   March 09, 2006 in Volume              2307 at Page 200 of the Glastonbury Land Records .. Said Mortgage

   was assigned         to Fremont       Investment     & Loan      by virtue      of an Assignment                           of Mortgage           to be

   recorded        on the Glastonbury         Land Records.        The Plaintiff,           Fremont                  Investment      & Loan,     is the
   holder of said Note and Mortgage.

           5.          Said Note is in default and the Plaintiff, Fremo~t Investment                                    & Loan as the holder of
   said Mortgage        and Note h~s elected to accelerate             the balan1ce due on said Note, to declare                                     said
   Note to be due in full and to foreclose           the Mortgage securing Jaid Note.


      .                                                  .                             I·
                                                                                       I

  02864-00163

                      50 WESTON STREET
                                         HUNT LEIBERT JACOBSON,
                                          •   HARTFORD. CONNECTICUT
                                                                      PC .•
                                                                      06120    •
                                                                                   I
                                                                                   I

                                                                               ATTORNEYS
                                                                                   (B60\ BOB-0606
                                                                                                        AT LAW
                                                                                                                 •    JURIS NO. 101SR'l
Case 17-31042             Doc 297         Filed 02/11/19 Entered 02/11/19 16:08:56                         Desc Main
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                              ,
          6.            The Plaintiff has provided written notice in accorda,ce with the Note and Mortgage to
  the Oefendant(s) of the default under the Note and Mortgage, but said Oefendant(s) has failed and
  neg lected to cure the defau It The Plaintiff has elected to accelelate the balance due' on said Note.
  to declare said Note to be due in full and to foreclose the Mortgage securing said Note.                                   l


          7.            The following liens or encumbrances claim to havk an interest in the Property which

  liens or encumbrances are prior in right to the Mortgage her~in:                   I                              .
                        a.         The Town/City of Glastonbury may claim an interest in the Property by virtue

  of inchoate liens for real estate taxes on the Grand Lists of octoJer 1, 2002 and thereafter.
                         b.        Connecticare, Inc. claims an interest in th~ Property by virtue of a Judgment
   Lien in the amount of $517.90 dated January 25, 2000 and recorded on January 26, 2000 in

   Volume 1327 at Page 81 of the Glastonbury Land Records.
                    .    c.         Town of Glastonbury claims an interest i, the Property by virtue of a Sewer
   Lien in the amount of $266.00 dated April 17, 2007 and recorded on April 19, 2007 in Volume 2441

   at Pag'e 85 of the Glastonbury Land Records.                   .                  I                                           . .
           8. .          The following liens or encu~bran~es claim to halve an interest in the Prop~rty which

   liens or encumbrances are subsequent in right to the Mortgage herein:
                         a.         The Defendant, Mortgage Electronic Re~istration Systems, Inc. as Nominee
   for Fremont Investment & Loan claims an interest in the profertY by virtue of a Mortgage in the
   amount of $127,000.00 dated February 27,2006 and recorded on March 09, 2006 in Volume 2307

    at Page 215 of the Glastonbury Land Records.
               9:         The Oefendant(s) Roney Harris, are the owners of the equity of redemption of the

    Property and, on information and .belief, are in possession of thb Property.                                         .
               10.        The Plaintiff, Fremont Investment & Loan, has further caused a Lis Pendens to be
    recorded on the Land Records of the Town of Glastonbury. A copy of said Lis Pendens is attached

    hereto as Exhibit A.
           11.     The Plaintiff, Fremont Investment & Loan, has further caused a notice to be given to
    the Defendant(s), Roney Harris, of their rights pursuant to the Statutes pertaining to unemployment




     02864-00163                     .      HUNT LEIBERT JACOBSON,      PC .•   ATTOFNEYS AT LAW
                                  ___..      _ u'CT,,"'m   r.ONNECTICUT 06120    • (860) 808·0606 •   JURIS NO. 101589
Case 17-31042        Doc 297            Filed 02/11/19 Entered 02/11/19 16:08:56                              Desc Main



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  and underemployment       by annexing        to this Writ, Summons            and Complaint           a copy of the notice
  provided for in said Statute.




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 02864-00163
                                   HUNT   LEIBERT   JACOBSON,    PC .•   ATTORNEYS    AT LAW
                50 WESTON STREET    •    HARTFORD, CONNECTICUT   06120   •   (860) 808·0606    •   JURIS NO.1 01589
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            WHEREFORE,        the plaintiff claims:
            1.      Foreclosure of the Mortgage;                                          /1

            2.      Possession of the Property;                                                            .
            3.     Money damages against the makers of, or obligors on, the Note described herein
                   and/or their Estates, if deceased, (unless same h~s been precluded by virtue of a
                   Bankruptcy filing);                              /'
            4.     A reasonable     attorney's fee (unless same has been precluded   by virtue of a
                   Bankruptcy filing);                              I

            5.     Interest (unless same has been precluded by virtu~ of a Bankruptcy filing);
            6.     Costs of suit (unless same has been precluded bY/Viirtue of a Bankruptcy filing);
            7.     Deficiency Judgment against the makers of, or obligors on, the Note described
                   herein, and/or their Estate, if deceased (unless same has been precluded by virtue of

            8.
                   a Bankruptcy filing); and                         .                I
                   Such other and further relief as the Court may deem just and equitable.
                                                                                      I
            Notice is hereby given to the Defendant(s)          that the Plai~tiff             intends    to seek satisfaction   of
                                                                                      I
 any judgment      rendered    in its favor in this action out of any debt accruing                      to said Defendant(s)    by

 reason of their pe;sonal       services,    (unless same has been prJcluded                         by virtue   of a Bankruptcy
 filing).



            Dated at Hartford, Connecticut      on November 19, 2007.




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                                                      - '" And~Qw Qorsorn:, Esq.

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                                                           Hunt Leibert Ja20bson, P.e.
                                                           Its Attorneys
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                                     HUNT LEIBERT JACOBSON,    pc .•   ATTOR~EYS AT LAW
                  50 WESTON STREET   •   HARTFORD. CONNECTICUT 06120   •   (860) 808·0606        •    JURIS NO. 101589
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  RETURN DATE: DECEMBER 11, 2007                                  SUPERIOR COURT

  FREMONT INVESTMENT & LOAN
                                                                                          I
                                                                  JUDICIAL DISTRICT OF HARTFORD

 VS:                                                              AT HART,ORD
                                                                                          I
 RONEY HARRIS, ET. AL                                             NOVEMBER 19, 2007

                               STATEMENT OF AMOUNT IN DEMAND
                                                                                      I
          The amount,    legal interest, or property in demand           is not IJss than $15,000.00,                exclusive   of

 interest and costs.




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                                                          MflUil"!
                                                             _ n Qarssm--Esq    'I'

                                                          Hunt Leibert Jacobson,              P.C.
                                                          Its Attorneys               I              f?\\JlOllt'l
                                                                             BEN STASKllCw,</o
                                                                                      I




 02864-00163                                                                     I
                                  HUNT LEIBERT JACOBSON, PC .•       ATTORNEY,S AT LAW
               50 WESTON STREET    •   HARTFORD, CONNECTICUT 06120   •    (860) 808-0606      •   JURIS NO. 101589
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  RETURN DATE: DECEMBER 11, 2007                                      SUPERIOR COURT
                                                                                                 I
  FREMONT INVESTMENT & LOAN                                           JUDICIAL IDISTRICT OF HARTFORD

  VS:                                                         .       AT HARTiORD
                                                                                                 I
  RONEY HARRIS, ET. AL                                                NOVEMBER 19, 2007

                                           NOTICE TO HOMEOWNERiI
          If you are a homeowner, urider the terms of Conn. Geh. Stat. Section 49-31d, et seq.,
 you are hereby given notice that under those statutes, if you ~re UNEMPLOYED or UNDER-
                                                                I
 EMPLOYED you may make application to the Court to which \his matter is returnable for relief
 from foreclosure. You may qualify for relief under those statutes if:
        YOU ARE UNEMPLOYED OR UNDER-EMPLOYED,I HAVE (FOR A CONTINUOUS
        PERIOD OF AT LEAST TWO YEARS PRIOR TO THE COMMENCEMENT OF THIS                       I

        FORECLOSURE ACTION) OWNED AND OCCUPIED THE PROPERTY BEING
        FORECLOSED AS YOUR PRINCIPAL RESIDENCE AND HAVE NOT RECEIVED AN
        EMERGENCY MORTGAGE ASSISTANCE LOAN A~D HAVE NOT APPLIED FOR
        EMERGENCY MORTGAGE ASSISTANCE FOR TWO YEARS BEFORE THE
        APPLICATION UNDER P.A. 93-414. YOU MAY BE ENTITLED TO CERTAIN RELIEF                 I

        UNDER THESE STATUTES.              YOU SHOULD C0NSULT AN ATTORNEY TO
        DETERMINE YOUR RIGHTS UNDER THOSE STATUTES.
                                                                                         I
        In order to qualify for relief under those statutes, you must make application for
 protection from foreclosure within 25 DAYS of the return date.,

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                                  HUNT LEIBERT JACOBSON,      PC .•    ATTORNEYS AT LAW
               50 WESTON STREET    •    HARTFORD, CONNECTICUT 06120    •   (860) 808·0606                •   JURIS NO. 101589
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                                             SCHEDULE A      '                                              I

             A c<!reain       pl,ece      or p~rce,l    of ,l~nd      with    the biUd1n'3.      a'nc1
      il:lprQveL'lent& thereon        loc;ated    in the Towrr: of Qlastonbur!:rr,       County     of
      Ha.rttord    and State of Cormect1cut,             sho ••.n ACJ Lot. 102 on a certatn      lIIap
     or plan entithd'          -YIIiAL R.ESUBDIYlS10~        PLAN aREr:;~"TR&B                 III
                                                                                     PREPARED FOR
     XANCl,MlCO         DEveLOPMENT,        CORPORATION     ORZeNTREE, DRIVE,      I GL.ASTO:.7BURY.
     CONll. SCALE: l. I~.         " 40 FT. DAn:       JUNf! 12,    1981 REVISED AUG'• .tB, 1981
     ALFORD ASSOClATZS           crVIL E~GI~~eP$ WINDSoR, CONNECtICUT ISHEETS 1 AND
     2" ,""hich     lI'Jap or   plOln,ilJ     on file  ,in the, .. Gl.aaconbur.y,  TOW-ll, Cleric'.,
     Oftice.                                                      , "       ':,'                            I                "       ,'
             Together       wito a right         of way tor in9i'ssB     and, e9reJ~ and utility
     services         throll'}h     POl"tiono       of Lot, No.8,    and Open,Spl1c.,    ShOWA aa
     "ACCESS "'-'SEXeNT IN Y"VOI! 01' LOT 101 •• LOT 102 " TOWN OP'iGLA6TONaUR~.,
    and • ACCtsS eASEIiENT              IN r,a.YOR OF, LOT 101 , 1.0'1' l02~ on 'laid    lIlap, 'iu14 .
    as Ohown 00 Maps NOB. 3510 and 3997 on file 1~ the Gla~eontiury ~o~n
    Clerl('s       Office       and"s9t      forth'    in' a Warrdnty    Dcec3, fro,. Ma'ngiafleo
    DeveloplI:l'ElOt    Corporation        to the Town ot Glastonbury          dated Octo~r.     17,
    197'), recordad            in Volume 242 at 1'a9. 1062 ot the Glastonbury                   Laod'
    Reco~dB.                                                                                            i                        '
    Said pC8~1ses are        subject to toa
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    resUlation or public        or private   law.                                                      I

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                                      HUNT       LEIBERT    JACOBSON,       PC,     • ATTORNEYS                 AT LAW
                 50 WESTON   STREET    •    HARTFORD, CONNECTICUT           06120     •   (860) 808-0606                 •       JURIS NO, 101589
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                                                                                Mol'llage       Services Loan Number 0017049345
                                                                                MERS        MiD No. 1000200002704'345'
                                                                                                         CVUIlIy )tuonkt',
                                                                                                         lkcord .1Id rct1In to:
              Prel*'rd II;                                                                               lWoriga~Senrkes
              Mortpg. Senrlcf'                                                                           4001 t.tackn'.U Rd
              4011 LetdtDha'RoIKI                                     ..,1- -       I
                                                                                4_ I..,                   Mt. burr ••NJ oaosc
              Mt •••• ..,... NJ 080S4                                                                    .AUIl: Doe.meat COlitroi

              Tba doculllellt b dated:                  _


                                        LOAN MODIFICATION AGREEMENT
                  Three Ori£jaai Loan ModIfintion AgrtemCllu.al' be executed by the Borrower
                 Oat Origiaal is t. be filed wida tho Hte Ind one Originll b to be recorded in tJae Land
                                   Records wb ••.• tile Smuity IDltramtllt i.r~td

              lINt I..•• MocbrlCllllClD
                                      AET~nI       (   ~~n.        hct\\CCIt R~f.V        L. HARRIS ,-Oonotrmfs)"' lAd CncIaar       .M.rtz.
              C"0t')IIInbe1 (l.l!ndi:r, "MI:K~' N a Mort_ ".I«IrMIf Rt:ebl11llM '\\"'1211-111' Ml:R\D I \CIIiIIMC "orponbftD thM K
              .lei" WJlcI)' iIIoa I)ClImJIIX 'or thI: LAJdcrand ""'* ~ ~..nrs •• 1.''''J'b MLR.'\ I>1IU)"f."!!I=C uncI« &Js~S«W1t)
              IINnImCnl M1!1t!,•• 0fIIIIIl17cd Md nlfl,", ..dcr W ~~ nl'lleIfturc tmd!un an .d..Ira.\ Md lelqlhon~ numhcT          0  or., BoA
              2026. "'lilt MI-tlSOI-10l6. tl:1 (1PlI}679-Mt.KS.-.cnds Md ~1IlIItS               (1) I~ "UtpF- Deed or J I'lbt.or Da:d 10Sft,-UIC
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              fMh '" IPlI~,




              In C:OIl'Udenauon ofcbe mutual "mouscs and ~mmts       C).c:han~d_the pan~ hereto agrtt as follows
              (notwttfl1lllndmt In)1hmt \\) tl\e COntiif)' ~   1ft the Nu,," Of 5ecunl} IMtrUment)
Q...JI'..L"~




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                     I A!t or Ille Fine day of September lOO'7, tbe amount payable under the Note Ind abe Seeunty lnstnllllent
                       (the ·tJnpaid "Principal Balance'" is U.S. $1l2,J15.75            ~IUU1g   of the DmOUrll(S) loaned ro Ibt
                       Borro'lAoet by the Lender and any intercsl capitaJized to date.

                     1 The Burwwcr prom~       10 poy the UnpaId PriKipal Balance. plu~ mtere'll. to the order of the Lender
                       InlCR)\ will be charged on the Ullpllid Principal Balance at the yearly !'life of 6%. be;JI1nln~ on the f1nt
                       day of kptember 2007. lie BnrnMer promISeS to make ~hly                pa)mcntsof pnllCipal and in~1 of
                       U S 5769." beg."ninS 0It the ~        day of Odober 2007 and continuing tI1ereafter 00 Ym't day of each
                       ~ln8        month until prine.".) and IntllF'CSt SIC paId In full If on 03I011lO34 (tbI! •• Manwily Date").
                       lhe Rnrmwer q,ll owes amounts under tile Note and the Secunl} l~t.                      as amended by th",
                       Agreemenl tbe RorroWCf ~11l pay dIcse amoorns In full onlhc Mwmy 1>'4lC

                       The Borrower will make 'WCh f'8)f1'1e1U5 at 400 \ l..eadenhaU Road Ml Laurel. NJ 08054 or at such
                       other place ti the t.ender may require

                     J. lfall or any pan ottbe Property or 1ft) mtereu in It 1$ sold or lranstc.rcd (or lfa benc:faaal infm:st in
                        the Porrower is sold or mMferred lindIht Borrower IS not a naturalpmon) -.Ithout the l.cmkr's prior
                       wnUcn cunsent.lhe Lender may. III 1[5optioo. rtqCIlfC Immedilltc payment tn full of ai, ~urm~            by
                        thi~ Scwnty Im~n'

                       If Ihc l.cndcc ntrciS~ tillS opllUlL !he Lender shall gi\re tho Bomw.er IMIfICO of acc:ekration 'TIle notice
                       shall prOYICk • pl..•nod ofnot Ie!.s than 30 da)~ tom the dale the nabc:e IS deh~red Of' mailed ~idllft
                       which the 8mowcr must pl) 811 r.urtKs.ecun:d b) flUs Securiry In~C1l(           If the Borro"tr fads to P')
                       tbe<it"WIM pnor to Ihc QPI~lon otlhts penod. the Lender may IIM)kc an) remechel pcmllned by tll.s
                       ~          Instrument "'M01II ftn1hcr notIce or demand on 1he Darrower

                     4. The Rormwer 0150 YoIII c:(Ift1ply wtdt all other 'OYCMIIl~ ~mmls,       and requirements of die Secunty
                        IMtnJment, Illcludmg witbout hnalttflOD. Iho Borrower'!> covenants and IgreeIIIenh Ie ~       an
                        pavmeNS orta~e1i. Ift'iurance ,nmlUn1S, a1SeSAlJCnf5. escrow Item. Impounds. and all adItr pe)rntltS
                        chal ~ Borrower " nhhpled 10 mike under the SCQlnty In~'",lII(nt. however, the fal10wint lenDS and
                                    ue ~er
                        pl'OY1'lIQllS          C&acc1cd,  •• l1l1\d,,'*'- lit ofthc _0 ~.rlCCl.    parqmph ~ I .1hove

                       ,.) all'~      and prQ"'1Sions ofw Jolacc and Secwity IflStr\lmcnt ( If any) provtd1nS for, imrr.tnHhI\8-
                       Of ftlalln~ tu, ffflY change or adjustmenllft the rart or ",Icrt", ~)1Ibk lU\der ~ ~CJt~ and




                     .....   -- ---        ---------------------------_.;....
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              (b) all terms and provisIOns of an) adJuvable rate nder M orMr mstrumcnt or document thal J~ affu..ed
              to. wholly or partial!)' mcorporaled IMO. or I~ pan of. me Note Or Security Instrument and Ill •• contains
              lillysuch term~ attd pro'ti~iaM., those rcfcmd to in tal above




                                                        ____         .            .             (Seal)




 STATE OF:                   Malt    <.'-,lllt'(   r"    vi
 COUNTVOF:                  I ,,.J~ri: l'Ib I

 Re It remembered. mat on tlus~J_d.)'of HI..').:;i"'" in the}Cllf of Out Lord two thousand and M:'teR
 (2007) before me. me sulKcnbcr a NO 1AK Y lSU8I.1C. personally appeared RO:NEY L OARJUS ","0
 I am s:ltisfied islare ~ person(s) \\110sigMd th.: "'lfhll1 instrument. and J acknowledge that helsbtIlhey
 'lilgned. sealed and del~ered the same as hislherllhelr 'Voluntar)- ac. and deed All of which IS berth}
 certtfied.
Case 17-31042              Doc 297            Filed 02/11/19 Entered 02/11/19 16:08:56                  Desc Main
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   LcM•• MOIIif"1CatJoa ,.\p'eelHllt-Singlc Famil),-Fllllllie MaelFradd.e Mae Un,ronn InSlnnnenr
         __ ._                                r Space Below Th~ l.irIe For AcbKMledgments)


   C~I       Mortgage Corporation


   By   hh 21/.d _.
        Man: J Hinkle_ Viet Pl1!\ident
                                         uu      ._




   STATIOF:                    NJ
   COUNTY OF:                  Burlington
  On this :..I-A day of a.-C 2007 before ~ ~                J_ HiDkleVice Presidenl of CORPORA nON,
  Notafy Publie. personally known '" me (or ~         to me on the basis of sati~f8ttory evidence) to be the
  persMCs) \fthose narne(s) Is/arc ~bscribed to be ~hhiQ Instrument IUId acknowledged to mr that
  helsheltllty cxceutcd the same In hislherllheJr authori7ed capacl(y(~). and that by hislhcrlthctr
  lignatUre(S) on the instnllncnf the person(s). or die eftlity upon bettalt of which the person(~) a(ted,
  ~ecuted the mstnlment

  WITNn.~S m)' hind and official seal.



  SignaJure_       ~-aA'.~
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                                                   BxIn"bitA

        no land   in Sprinsfield.   Hampdan County. MaSAChulScUs. boina knoWJ\ and dai8bUed
        II Lot #47 (rorty.sevcn) on a pbln of"Rhodoca Padc"'. recorded in Hampdm County
        .R.egi&tryof Deeds in Boot of Plans 3. Page 31, said lot being more particularly bounded
        and doacn'bad 118 rnnows:

        WBSTmtLY:                       by White Stceot fifty (SO) feet;

        NORlHBRLY:                      by Lot 1146 (forty-six) as sOOwnon 68id plan. one hundred
                                        (100) feet;

        EASTERLY:                       by Lot #145 (tbrty-five) as shown on said plaa, fifty (SO)
                                        feet.

        Also anoth«   pan:el orland in said Sprlngfield, bounded and dcsecibcd as follows:         -

        NORTHBASTInU.Y:                 aJoas tho Northwesterly line ofthc parcel fust dcscr:ibod
                                        herein, sov~t           (78) feel 10 • iron pipe; thenco

        NORTHWESTERLY:                  in aline parallel with me Nortbcastc:dy line ofWbite Street
                                        aod at right angles to the first described COUISe_ three (3)
                                        feet to a point; thcmce

        SOUTHWBSTBRLY:                  in a line parallel with the said Northwesterly line of the
                                        parcel oClImd first descnDed herein. .nventy-eiaht feel to
                                        an iron pin in the NortbcaatcrIy lino oIWhitc Street; thence

        SOUl'HRASTERLY:                 aloag the Northea3torly liDo ofWhitc Stt~      three (3) feet
                                        (0 tho point ofbegiDning.

        Being the pnmrlsn bow        8Ild dosigoated 18 615   White Street, Springfield. Mnss..
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     401) 1 LcadcahaU Road                                                      Td 1O()...2S7-046Q
     MI. LiIIrtI   NJ 080,..                                                    Fa.'( 156-1) J 7-i300



    klguBt         08, 2007




    LENDBR;                          PHH Mortgage

    HORROWER (S) ;                   Rotl~y L Harris


    PROPERTY ADDRESS:                615 Wh~~e St
                                     Springfield MA 01108

    LOAN NlJ4BBR:                    0027049345


                        EAAOR AND QoilSSIONS/C{lI(PLIANC'E   AGREBY-ENT


   The under~iqned borrower(s) for end in considera~1on of the above-
   ~eferelced Lender modifYing the above-reforeneced IOdn agreels1, )f
   requnsted by Lender, to fully coopera~e and adjusL for clerical errors
   concerning any or all loan modification dacumencatlnn if deeme~ n~cessacy
   UT desirable in the reasonable discretion of the Lender.

   The underaiqned  boxrower(sl ogreeCs) to comply with all above-r.oted
   r~eBts   by th~ above-refe~enced Lender within 5 days of mAiling cf sald
   requests. Borrower(s' agree(s) to assume all co~ts including, by w~y of
   illustration And not limitation, actu~l expenses, legal fees and marketing
   losses tor falltng to coqply with correction requeslB in ~he above-noted
   time    period.


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            MORTGAGO           , Roney L HarrlB




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